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Jury Deliberations 1490

Intent means conscious objective, purpose,
aim. Thus, a person acts with the intent to cause
the death of another person when it’s his conscious
objective, aim to cause the death of another person.

That means, in order for you to find the
defendant guilty, the People must prove the following
elements beyond a reasonable doubt: That on or about
December 12, 2002, in the County of New York, the
defendant, Felix Garcia, caused the death of Raymond
Villanueva and that the defendant did so with the
intent to cause the death of Raymond Villanueva.

If you find the People have proven both of
those elements beyond a reasonable doubt, find him
guilty of murder in the second degree.

On the other hand, if you find the People
have failed to prove either or both of those elements
beyond a reasonable doubt, then you must find him not
guilty.

‘Criminal possession of a weapon in the
second degree is defined as follows: A person is
guilty of criminal possession of a weapon in the
second degree when that person knowingly possesses a
loaded firearm with the intent to use the same
unlawfully against another.

Firearm includes a pistol or revolver. A

 
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Jury Deliberations 1491

loaded firearm means it’s loaded with ammunition
which may be used to discharge from that firearm,
meaning that it’s live ammunition and that the gun is
operable. The People must prove that it was
operable, capable of discharging that ammunition.

Possessed means to have physical possession
of. And to possess knowingly, means that the person
is aware that he is in possession of a loaded pistol
or revolver.

Intent means conscious objective or purpose
or aim against. So a person acts with the intent to
use a loaded firearm unlawfully against another when
that -- it’s his conscious objective or purpose.

So, in sum, in order to find the defendant
guilty of this crime, the People must prove the
following four elements beyond a reasonable doubt;
that on or about December 12, 2002 -- did I get my
dates wrong? I kept saying 12™, but it’s the 13%,
morning. I am sorry, the same for the first time.
Yeah, I got that wrong. I am sorry.

3th in the

That on or about December 1
County of New York, the defendant, Felix Garcia,
possessed a loaded firearm; that the defendant did so

knowingly; that the firearm was operable. and loaded;

and that the defendant possessed that loaded firearm

 
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Jury Deliberations 1492

with the intent to use it unlawfully against another.
If the People prove all four of those elements beyond
a reasonable doubt, find him guilty of criminal
possession of a weapon in the second degree.

If they fail to prove any one or more of
those four elements beyond a reasonable doubt, then
you must find him not guilty.

The final count is criminal possession of a
weapon in the third degree. A person is guilty of
criminal possession of a weapon in the third degree
when the person knowingly possesses a loaded firearm,
but not in that person’s home or place of business.

I have already defined a loaded firearm for
you, so I won’t do that again.

It must be operable, loaded with live
ammunition. It includes a pistol or revolver.

To knowingly possess means to have physical
possession over it and to be aware that he is in
possession of that loaded firearm.

So, in sum, in order to find the defendant
guilty of this offense, the People must prove beyond
a reasonable doubt, one, that on or about December
13", in the County of New York, the defendant, Felix
Garcia, possessed a loaded firearm; that he did so

knowingly; that the firearm was operable; and that

 
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Jury Deliberations 1493

the defendant possessed it in a place which was not
his home or place of business.

If the People prove all four of those
elements beyond a reasonable doubt, find him guilty
of criminal possession of a weapon in the third
degree.

If they fail to prove any one or more of
those elements beyond a reasonable doubt, you must
find him not guilty.

Thank you, and please resume deliberations.

(Whereupon, the jury left the courtroom at
11:27 a.m. to continue their deliberations.)

(Whereupon, the following occurred in open
court.)

THE COURT: We have a note where they ask
for the testimony of Adam Bailey on certain points in
time. Both sides have agreed on the readback and we
will bring the jury back out.

Did you want me to say something about how
we interpreted this?

MR. NOBEL: No, I don’t think it’s
necessary.

THE COURT: It’s interpreted to be just
from the call, his observations from the window.

MR. NOBEL: It’s almost all of his

 
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Jury Deliberations 1494

testimony, except —--

THE COURT::. I am going to tell them it’s
observations from the window. If there is more than
that, let us know.

MR. NOBEL: This is really all of his
testimony except for a very small snippet.

(Whereupon, the jury entered the courtroom
at 2:32 p.m.)

THE COURT: Thank you.

We have your notes. We interpret your
notes as meaning basically that you wanted Adam
Bailey’s testimony from what he observed from the
window. That is basically what is going to be read
to you at this point.

(Whereupon, the Court Reporter read back
the requested testimony.)

THE COURT: All right. Thank you.

Please resume deliberations.

(Whereupon, the jury left the courtroom at
2:57 p.m. to continue their deliberations.)

(Whereupon, the following occurred in open
court.)

THE COURT: We have a note from the jury.
They say they are basically making good progress.

They say, “A lot of progress” underlined. “We are

 
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Jury Deliberations 1495

still deliberating well. We request to adjourn for
the day.”

So it’s 4:30. It seems to me we should
honor that request. If there is no objection, let’s
bring them out.

(Whereupon, the jury entered the courtroom
at 4:31 p.m.)

THE COURT: Okay, we have your note and
probably it’s a good idea to accede to the request.
It has been a long day.

Please cease deliberating. Don’t talk to
anyone about the case, and I will see you tomorrow
morning at ten o’clock.

(Whereupon, the jury left the courtroom at
4:32 p.m. to adjourn for the day.)

THE COURT: Thank you. See you tomorrow.

(Whereupon, the case was adjourned until

March 31, 2004.)

 

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SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK: CRIMINAL TERM: PART 31

THE PEOPLE OF THE STATE : Indictment No.: 8065/2002
OF NEW YORK, : Charge: Murder, 2°? Degree
-against-

FELIX GARCIA,

Defendant.

100 Centre Street
New York, New York 10013
March 31, 2004 (Continuing)

BEFORE
HONORABLE JAMES A. YATES,
J.S.C.
APPEARANCES
OFFICE OF THE DISTRICT ATTORNEY
BY: JEANINE M. LAUNAY, ESQ.,
ASSISTANT DISTRICT ATTORNEY,

For the People.

DANIEL NOBEL, ESQ.,
For the Defendant.

JAMES BATTI,
SENIOR COURT REPORTER.

 
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Jury Deliberations 1498

THE COURT: The jury sent out a note saying

they reached a verdict. So if you are ready, let’s

bring them out.

THE COURT CLERK: Recalling the case on
trial, Felix Garcia, Indictment 8065 of 2002.

Defendant, his attorney and the District
Attorney are present; the jurors are not yet present.

(Whereupon, the jury entered the courtroom
at 11:35 a.m. to announce their verdict.)

THE COURT CLERK: People of the State of
New York against Felix Garcia, defendant on trial.
The defendant, his counsel, the District Attorney are
present; all jurors are present.

Foreperson, please rise.

Members of the jury, have you agreed upon a
verdict?

THE FORBEPERSON: Yes.

THE COURT CLERK: How do you say to the
first count of the indictment charging the defendant
with murder in the second degree?

THE FOREPERSON: We, the jury, find him
guilty.

THE COURT CLERK: How do you find on the
second count, criminal possession of a weapon in the

second degree?

 
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Jury Deliberations 1499

THE FOREPERSON: We, the jury, find him
guilty.

THE COURT CLERK: On the third count,
criminal possession of a weapon in the second degree?

THE FOREPERSON: We, the jury, find him
guilty.

THE COURT CLERK: Listen to your verdict as
it stands recorded. You and each of you say, through
your foreperson, that you find the defendant, Felix
Garcia, guilty of murder in the second degree under
the first count: guilty of criminal possession of a
weapon in the second degree on the second count; and,
guilty of criminal possession of a weapon in the
third degree on the third count. So say you all?

THE COURT: You want the jury polled?

 

MR. NOBEL: Please.
THE COURT CLERK: Members of the jury, you
say, through your foreperson, that you find the
defendant guilty of murder in the second degree;

guilty of criminal possession of a weapon in the

 

second degree; and, guilty of possession of a weapon
in the third degree.
Juror Number 1, is that your verdict?
JUROR NUMBER 1: Yes.

THE COURT CLERK: Juror Number 2, is that

 

 

 

 

 

 
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Jury Deliberations

verdict?

JUROR NUMBER 2: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 3: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 4: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 5: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 6: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 7: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 8: Yes.

THE COURT CLERK: Juror
verdict?

JUROR NUMBER 9: Yes.
THE COURT CLERK: Juror

verdict?

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Jury Deliberations 1501

JUROR NUMBER 10:
THE COURT CLERK:

your verdict?
JUROR NUMBER 11:
THE COURT CLERK:

your verdict?
JUROR NUMBER 12:
THE COURT CLERK:

been polled.

THE COURT: I see this is a very emotional
time for all of you, and I am not going to extend
this other than to say we re
effort that you put 4nto this. Listen, when you
leave here, if you know that you voted your
conscience based on the law,
and don’t look back with regrets.

Thank you, and you are discharged for four

years.

(Whereupon, the jury left the courtroom. )
THE COURT: All right. Today is March 31.
Two weeks would be April 14%», Is that good for you?
You want to make your motions then, Loo?
MR. NOBEL: Is that for sentencing?

THE COURT: For both, unless I grant the

motion.

Yes.

Juror Number 11, is that

Yes.

Juror Number 12, is that

 

 

 

Yes.

Your Honor, the jury has

ally do appreciate the

 

that’s a good verdict

 

 

 

 
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Colloquy 1502

MR. NOBEL: Could we have it somewhat

longer than that?

THE COURT: You want the 21%*?

MR. NOBEL: They can do a Probation report

that quickly?

THE COURT: Yes.
MR. NOBEL: Yeah, I do anticipate --

THE COURT: If you raise issues in your

motion papers that requires a response, I will put

off sentencing. So April 21?

April 21,

MR. NOBEL: May we have the 21°%* then?
THE COURT: Okay, April 21.

Remand.

INS ordered.

(Whereupon, the case was adjourned until

2004.)

kKk* *

 
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1503

CERTIFICATION

I, JAMES BATTI,;, a Senior Court Reporter of the
State of New Jersey, do hereby certify that the foregoing
is a true and accurate transcript of my stenographic notes

of the within proceedings to the best of my ability.

AMES BATT eS
/ SENIOR COU PORTER.

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